Case 2:Ol-CV-02188-.]DB-STA Document 107 Filed 08/25/05 Pagge 1 of 2 Page|D 82

IN THE UNITED STATES DISTRICT COURT mm ev__, ¢¢¢¢¢ _o_c_
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AU{; 25 AH l h 39

 

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RACHEL KATHRYN WHITE, CLER“R US DES'HI TCOURT
WA} OF TN MEMPHJS
Plaintiffs,

VS. NO. 01-2188- GA

SUNBELT RENTALS, INC.,
A North Carolina Corporation,

Defendants.

 

ORDER ON SUNBELT RENTALS, INC.’S MOTION TO AMEND ITS ANSWER TO
AMENDED COMPLAINT

 

IN THlS CAUSE, it appearing to the Court that the Motion of the Defendant, Sunbelt
Rentals, Inc., is Well taken and should be granted
IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Defendant,

Sunbelt Rentals Inc. may file its proposed Arn ed Answer to Amended MComplaint.

 

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 107 in
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Honorable .1. Breen
US DISTRICT COURT

